

People v Daniels (2025 NY Slip Op 50474(U))



[*1]


People v Daniels (Deshawn)


2025 NY Slip Op 50474(U)


Decided on April 11, 2025


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on April 11, 2025
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Brigantti, Tisch, JJ.



570535/19

The People of the State of New York, Respondent,
againstDeshawn Daniels, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Ann D. Thompson, J.), rendered June 13, 2019, after a plea of guilty, convicting him of disorderly conduct, and imposing sentence.




Per Curiam.
Judgment of conviction (Ann D. Thompson, J.), rendered June 13, 2019, affirmed.
Defendant was charged in an accusatory instrument with one class A misdemeanor and two violations, including disorderly conduct (see Penal Law § 240.20 [3]). Pursuant to a plea agreement, defendant pleaded guilty to the disorderly conduct charge in exchange for a conditional discharge. On appeal, defendant challenges the facial sufficiency of that charge. However, the only relief defendant requests is dismissal of the entire accusatory instrument rather than vacatur of the plea, and he expressly requests that this Court affirm the conviction if it does not grant a dismissal.
Even were we to accept defendant's contention that the disorderly conduct charge to which he pleaded guilty was jurisdictionally defective, we find that his specific request for dismissal of the remaining charges would not be an appropriate remedy. In view of the serious nature of at least one of the remaining offenses, second-degree criminal contempt (see Penal Law § 215.50), based upon allegations that defendant violated a Family Court order of protection, a penological purpose would be served by remanding the matter for further proceedings (see People v Conceicao, 26 NY3d 375, 385 n [2015]). We, therefore, affirm the judgment of conviction without reviewing defendant's challenge, as the ultimate outcome of the appeal would, in either event, be an affirmance (see People v Teron, 139 AD3d 450, 450 [2016]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: April 11, 2025









